                    Case 20-31027            Doc 1       Filed 12/13/20 Entered 12/13/20 19:51:15                              Desc Main
                                                           Document     Page 1 of 18

Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Piedmont Polymers & Fabrication, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  12210 Vance Davis Drive, Suite 100
                                  Charlotte, NC 28269
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Mecklenburg                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 20-31027                Doc 1       Filed 12/13/20 Entered 12/13/20 19:51:15                                   Desc Main
                                                               Document     Page 2 of 18
Debtor    Piedmont Polymers & Fabrication, LLC                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3089

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                    Case 20-31027            Doc 1        Filed 12/13/20 Entered 12/13/20 19:51:15                                 Desc Main
                                                            Document     Page 3 of 18
Debtor   Piedmont Polymers & Fabrication, LLC                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                    Case 20-31027            Doc 1       Filed 12/13/20 Entered 12/13/20 19:51:15                                Desc Main
                                                           Document     Page 4 of 18
Debtor    Piedmont Polymers & Fabrication, LLC                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 13, 2020
                                                  MM / DD / YYYY


                             X   /s/ William A. Barbee                                                    William A. Barbee
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Receiver




18. Signature of attorney    X   /s/ Richard S. Wright                                                     Date December 13, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Richard S. Wright 24622
                                 Printed name

                                 Moon Wright & Houston, PLLC
                                 Firm name

                                 121 West Trade Street
                                 Suite 1950
                                 Charlotte, NC 28202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     704-944-6560                  Email address      rwright@mwhattorneys.com

                                 24622 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
Case 20-31027   Doc 1   Filed 12/13/20 Entered 12/13/20 19:51:15   Desc Main
                          Document     Page 5 of 18
                      Case 20-31027                    Doc 1         Filed 12/13/20 Entered 12/13/20 19:51:15                                      Desc Main
                                                                       Document     Page 6 of 18

 Fill in this information to identify the case:
 Debtor name Piedmont Polymers & Fabrication, LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF NORTH                                                                                    Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Atlantic Packaging                                                                                                                                                         $5,029.31
 PO Box 60002
 Charlotte, NC 28260
 Boltaron, Inc.                                                                                                                                                           $67,710.39
 One General St
 Newcomerstown,
 OH 43832
 Catawba Industrial                                                                                                                                                         $9,113.00
 Rubber
 PO Box 30636
 Charlotte, NC
 28230-0636
 Cincinnati Insurance                                                                                                                                                       $5,022.00
 Companies
 PO Box 14
 Cincinnati, OH
 45250-5496
 CornerStone                                                                                                                                                              $30,347.28
 Plastics Inc
 1027 Luck Rd
 Asheboro, NC 27203
 Coyote                                                                                                                                                                     $3,255.00
 International, LLC
 2302 Ludelle St
 Fort Worth, TX
 76105
 D.A. Moore Corp                                                                                                                                                          $15,237.39
 36 Oak Drive
 Concord, NC 28027
 Digital Design &                                                                                                                                                           $3,288.00
 Modeling
 6201 Hackers Bend
 Ct
 Winston Salem, NC
 27103
 Duke Energy                                                                                                                                                              $18,838.79
 PO Box 1046
 Charlotte, NC 28272

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                      Case 20-31027                    Doc 1         Filed 12/13/20 Entered 12/13/20 19:51:15                                      Desc Main
                                                                       Document     Page 7 of 18


 Debtor    Piedmont Polymers & Fabrication, LLC                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 First Home Bank                                                PPP Loan                                                                                                $724,600.00
 A FL Banking
 Corporation
 700 Central Avenue
 St Petersburg, FL
 33701
 H.B. Fuller                                                                                                                                                                $9,786.60
 9001 W Fey Dr
 Frankfort, IL 60423
 IPS Packaging &                                                                                                                                                            $4,242.65
 Automation
 PO Box 2009
 Founatin Inn, SC
 29644
 MA Precision                                                                                                                                                             $12,187.50
 5215 Kazuko Ct
 Moorpark, CA 93021
 Mecklenburg                                                                                                                                                              $20,922.71
 County Tax
 Collector
 PO Box 71063
 Charlotte, NC
 28272-1063
 Packaging                                                                                                                                                                  $3,025.60
 Corporation of
 America
 212 Roelee St
 Trinity, NC 27370
 Pinnacle Bank                                                                                                                                                              $6,633.53
 Mooresville NC
 Commerce Park
 LPO
 125 Commerce Park
 Road
 Mooresville, NC
 28117
 Primex Plastics                                                                                                                                                          $56,724.90
 Corp.
 3435 Old Oakwood
 Rd
 Oakwood, GA 30566
 Sekisui Kydex, LLC                                                                                                                                                       $65,874.64
 PO Box 828322
 Philadelphia, PA
 19182-8322
 Shanghai Jesoncom                                                                                                                                                        $99,751.68
 Communication
 Equipmen
 No. 788 Shanlian
 Road Baoshan
 Urban Industrial
 District
 China

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                      Case 20-31027                    Doc 1         Filed 12/13/20 Entered 12/13/20 19:51:15                                      Desc Main
                                                                       Document     Page 8 of 18


 Debtor    Piedmont Polymers & Fabrication, LLC                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 TriMech Solutions,                                                                                                                                                         $7,641.57
 LLC
 4461 Cox Rd Suite
 Glen Allen, VA
 23060




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                 Case 20-31027                    Doc 1          Filed 12/13/20 Entered 12/13/20 19:51:15                                 Desc Main
                                                                   Document     Page 9 of 18
                                                               United States Bankruptcy Court
                                                                 Western District of North Carolina
 In re      Piedmont Polymers & Fabrication, LLC                                                                      Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Ernie Cotter                                                                         50%
 c/o C. Richard Rayburn, Jr.
 Rayburn Cooper & Durham, PA
 227 W. Trade Street, Suite 1200
 Charlotte, NC 28202

 Matthew Cobb                                                                         50%
 482 East Plaza Drive
 Mooresville, NC 28115


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Receiver of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date December 13, 2020                                                      Signature /s/ William A. Barbee
                                                                                            William A. Barbee

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 20-31027                    Doc 1          Filed 12/13/20 Entered 12/13/20 19:51:15             Desc Main
                                                                  Document     Page 10 of 18




                                                               United States Bankruptcy Court
                                                                 Western District of North Carolina
 In re      Piedmont Polymers & Fabrication, LLC                                                      Case No.
                                                                                  Debtor(s)           Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Receiver of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       December 13, 2020                                         /s/ William A. Barbee
                                                                       William A. Barbee/Receiver
                                                                       Signer/Title




Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
    Case 20-31027   Doc 1   Filed 12/13/20 Entered 12/13/20 19:51:15   Desc Main
                             Document     Page 11 of 18


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                      Airgas National Welders
                      PO Box 734672
                      Dallas, TX 75373-4672


                      Anderson America Corp.
                      10620 Southern Loop Blvd
                      Pineville, NC 28134


                      Atlantic Packaging
                      PO Box 60002
                      Charlotte, NC 28260


                      Automation Technology, Inc.
                      PO Box 348
                      Concord, NC 28026-0348


                      B/E Aerospace, Inc.
                      2599 Empire Dr
                      Winston Salem, NC 27103


                      Blake & Pendleton
                      Dept #0671
                      PO Box 850001
                      Orlando, FL 32885-0671


                      Boeing Distribution Services Inc
                      8289 Expedite Way
                      Chicago, IL 60695-0001


                      Boltaron, Inc.
                      One General St
                      Newcomerstown, OH 43832


                      Bullseye Telecom, Inc.
                      PO box 6558
                      Carol Stream, IL 60197-6558


                      Carolina Business Supplies
                      PO Box 681027
                      Charlotte, NC 28216


                      Carolina Tape & Supply Co
                      PO Box 2488
                      Hickory, NC 28603
Case 20-31027   Doc 1   Filed 12/13/20 Entered 12/13/20 19:51:15   Desc Main
                         Document     Page 12 of 18



                  Catawba Industrial Rubber
                  PO Box 30636
                  Charlotte, NC 28230-0636


                  Chubb
                  PO Box 382001
                  Pittsburgh, PA 15250-8001


                  Cincinnati Insurance Companies
                  PO Box 14
                  Cincinnati, OH 45250-5496


                  CIT Bank - Faro Arm Lease
                  CIT Bank NA 10201 Centurion Parkway N #1
                  Jacksonville, FL 32256


                  CIT Bank - IT Equipment Lease
                  CIT Bank NA 10201 Centurion Parkway N #1
                  Jacksonville, FL 32256


                  CIT Bank, NA
                  155 Commerce Way
                  Portsmouth, NH 03801


                  City of Charlotte
                  Blling Center
                  PO Box 1316
                  Charlotte, NC 28201-1316


                  CNP Technologies, LLC
                  Attn: Jane Johnson
                  806 Tyvola Road, Suite 102
                  Charlotte, NC 28217


                  CornerStone Plastics Inc
                  1027 Luck Rd
                  Asheboro, NC 27203


                  Coyote International, LLC
                  2302 Ludelle St
                  Fort Worth, TX 76105


                  CW Thomas
                  8000 State Rd
                  Philidelphia, PA 19136
Case 20-31027   Doc 1   Filed 12/13/20 Entered 12/13/20 19:51:15   Desc Main
                         Document     Page 13 of 18



                  D.A. Moore Corp
                  36 Oak Drive
                  Concord, NC 28027


                  D.B. Roberts Company
                  PO Box 531230
                  Atlanta, GA 30353-1230


                  Digital Design & Modeling
                  6201 Hackers Bend Ct
                  Winston Salem, NC 27103


                  Duke Energy
                  PO Box 1046
                  Charlotte, NC 28272


                  Ernie Cutter
                  c/o C. Richard Rayburn, Jr.
                  Rayburn Cooper & Durham, PA
                  227 W. Trade Street, Suite 1200
                  Charlotte, NC 28202


                  Estes Express Lines
                  PO BOX 25612
                  Richmond, VA 23260-5612


                  Farris Belt and Saw
                  235 Foster Ave
                  Charlotte, NC 28203


                  FedEx
                  PO 371461
                  Pittsburgh, PA 15250-7461


                  Fedex Freight
                  PO Box 223125
                  Pittsburgh, PA 15251-2125


                  First Home Bank
                   A FL Banking Corporation
                  700 Central Avenue
                  St Petersburg, FL 33701
Case 20-31027   Doc 1   Filed 12/13/20 Entered 12/13/20 19:51:15   Desc Main
                         Document     Page 14 of 18



                  Freeman Gas
                  PO Box 190253140-F Piper Lane
                  Charlotte, NC 28219


                  Grainger
                  1401 S Mint St
                  Charlotte, NC 28203-4135


                  H.B. Fuller
                  9001 W Fey Dr
                  Frankfort, IL 60423


                  IPS Packaging & Automation
                  PO Box 2009
                  Founatin Inn, SC 29644


                  Kenneth Lautenschlager
                  Johnston, Allison & Hord
                  1065 E. Morehead Street
                  Charlotte, NC 28204


                  Kenson Plastics Inc
                  2835 Darlington Rd
                  Beaver Falls, PA 15010


                  Landstar System Inc (US Carriers)
                  4810 East Fork Lane
                  Monroe, NC 28110


                  LMT - Onsrud
                  800 Liberty Dr
                  Libertyville, IL 60048


                  MA Precision
                  5215 Kazuko Ct
                  Moorpark, CA 93021


                  Matlab, Inc.
                  1112 Nc Hwy 49
                  Asheboro, NC 27205


                  McMaster-Carr Supply Co.
                  PO Box 7690
                  Chicago, IL 60680-7690
Case 20-31027   Doc 1   Filed 12/13/20 Entered 12/13/20 19:51:15   Desc Main
                         Document     Page 15 of 18



                  Mecklenburg County Tax Collector
                  PO Box 71063
                  Charlotte, NC 28272-1063


                  MSC Industrial Supply Co.
                  6700 Discovery Blvd
                  Mableton, GA 30126


                  Packaging Corporation of America
                  212 Roelee St
                  Trinity, NC 27370


                  Piedmont Plastics, Inc.
                  5010 West WT Harris Blvd.
                  Charlotte, NC 28269


                  Pinnacle Bank
                  Mooresville NC Commerce Park LPO
                  125 Commerce Park Road
                  Mooresville, NC 28117


                  Primex Plastics Corp.
                  3435 Old Oakwood Rd
                  Oakwood, GA 30566


                  Priority First
                  933 Louise Ave Suite 101-18
                  Charlotte, NC 28204


                  Proshred Security
                  803 Pressley Rd, Suite 108
                  Charlotte, NC 28117


                  Quality Die Company
                  111 Quality Lane
                  Mt Mourne, NC 28123


                  RTA International
                  189 Bedford St
                  Stamford, CT 06901


                  Sekisui Kydex, LLC
                  PO Box 828322
                  Philadelphia, PA 19182-8322
Case 20-31027   Doc 1   Filed 12/13/20 Entered 12/13/20 19:51:15   Desc Main
                         Document     Page 16 of 18



                  Shanghai Jesoncom Communication Equipmen
                  No. 788 Shanlian Road Baoshan
                  Urban Industrial District
                  China


                  Sharp Business Systems
                  4404-A Stuart Andrew Blvd.
                  Charlotte, NC 28217


                  TBP Converting Service & Solutions
                  400 Thoms Dr Suite 411
                  Phoenixville, PA 19460


                  Tessy Plastics, LLC
                  231 Jefferson Ridge Parkway
                  Lynchburg, VA 24501


                  Tontec International Ltd
                  UNIT 1209-12 TELFOED HOUSE
                  16 WANG HOI ROAD
                  KOWLOON BAY
                  Hong Kong


                  TOTAL PACKAGING
                  8610 Air Park W Dr Suite H
                  Charlotte, NC 28214


                  Toyota Industries Commercial Finance, In
                  PO Box 660926
                  Dallas, TX 75266-0926


                  TriMech Solutions, LLC
                  4461 Cox Rd Suite
                  Glen Allen, VA 23060


                  U.S. Small Business Administration
                  SBA 14925 Kingsport Rd
                  Fort Worth, TX 76155-2243


                  U.S. Small Business Administration
                  2 North Street
                  Suite 320
                  Birmingham, AL 35203
Case 20-31027   Doc 1   Filed 12/13/20 Entered 12/13/20 19:51:15   Desc Main
                         Document     Page 17 of 18



                  Uline
                  PO BOX 88741
                  Chicago, IL 60680-1741


                  UniFirst First Aid & Safety
                  3499 Rider Trail South
                  St Louis, MO 63045


                  United Parcel Service
                  PO Box 809488
                  Chicago, IL 60680-9488


                  United Rentals
                  3515 Trailer Dr
                  Charlotte, NC 28269


                  Universal Plastics
                  75 Whiting Farms Rd
                  Holyoke, MA 01040
                 Case 20-31027                    Doc 1          Filed 12/13/20 Entered 12/13/20 19:51:15              Desc Main
                                                                  Document     Page 18 of 18



                                                               United States Bankruptcy Court
                                                                 Western District of North Carolina
 In re      Piedmont Polymers & Fabrication, LLC                                                       Case No.
                                                                                 Debtor(s)             Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Piedmont Polymers & Fabrication, LLC in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



    None [Check if applicable]




 December 13, 2020                                                   /s/ Richard S. Wright
 Date                                                                Richard S. Wright 24622
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Piedmont Polymers & Fabrication, LLC
                                                                     Moon Wright & Houston, PLLC
                                                                     121 West Trade Street
                                                                     Suite 1950
                                                                     Charlotte, NC 28202
                                                                     704-944-6560 Fax:704-944-0380
                                                                     rwright@mwhattorneys.com




Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
